           ...
           ''""
         _.;
                  Case: 4:18-mj-03402-NCC Doc. #: 1 Filed: 12/28/18 Page: 1 of 1 PageID #: 1
Ao :rfl~Rev. 11111) Criminal Complaint
 .":;~




                                       UNITED STATES DISTRICT COURT                                                 fH..ie[)l
                                                                    for the
                                               EASTERN DISTRICT OF MISSOURI                                     DEC 2 8 2018
                                                                                                               U.S. DISTRICT GOU~I
                     United States of America                          )                                     EASTERN DISTRICT OF MO
                                                                                                                     ST. LOUIS
                                  v.                                   )
                                                                       )      Case No. 4:18 MJ 3402 NCC
                     ALONZO LAMAR PAYNE                                )
                                                                       )
                                                                       )
                                                                       )
                             Defendant(s)


                                                   CRIMINAL COMPLAINT
               I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    December 21. 2018               in the county of          St. Louis County             in the
                                   ------------~                                                 -----------
          Eastern         District of _ _ _M_1_·s_so_ur_i_ _ _ , the defendant(s) violated:

                  Code Section                                                   Offense Description

18:1951                                           Hobbs Act robbery
18:924(c)                                         Brandishing a firearm in furtherance of a crime of violence




               This criminal complaint is based on these facts:

                                                       SEE ATTACHED AFFIDAVIT




               0 Continued on the attached sheet.


                                                                                                 Complainant's signature
                                                                                       Detective Eric Schleuter; Florissant Police
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


                     12/28/2018
Date:


City and state:                          St. Louis, Missouri                   Honorable Noelle C. Collins, U.S. Magistrate Judge
                                                                                                  Printed name and title
